          Case 2:17-cr-00229-TOR           ECF No. 344       filed 02/07/18       PageID.762 Page 1 of 1
O PS 8
(3/15)


                              UNITED STATES DISTRICT COURT                                        FILED IN THE
                                                                                              U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF WASHINGTON
                                                           for
                                           Eastern District of Washington                 Feb 07, 2018
                                                                                             SEAN F. MCAVOY, CLERK




U.S.A. vs.                   Allen, Tammy Marie                        Docket No.         0980 2:17CR00229-TOR-12


                                Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Tammy Marie Allen, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 14th day of December 2017, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:


Violation #1: The defendant tested positive for the presence of amphetamine and methamphetamine on January 2, 2018.

                    PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                         I declare under the penalty of perjury
                                                                         that the foregoing is true and correct.
                                                                         Executed on:        February 7, 2018
                                                                 by      s/Erik Carlson
                                                                         Erik Carlson
                                                                         U.S. Pretrial Services Officer

THE COURT ORDERS

[X ]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Defendant to appear before the Judge assigned to the case.
[ ]      Defendant to appear before the Magistrate Judge.
[ ]      Other


                                                                           Signature of Judicial Officer

                                                                            February 7, 2018
                                                                           Date
